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- Exhibit List (Supporting Evidence)

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Exhibit A- Jamila’ s Directive Letter (Sept 9, 2019): A one-page hand-signed letter by

- .Jamila K. Butt, dated 9/9/2019, stating her wishes regarding her home (e.g., “Do not sell my
~ house during my lifetime... 1 want to live there with help, or leave it to my children... ”),

Exhibit B — Retainer Agreement with Attorney Khalid Azam (Oct 1, 2019): A copy of
the retainer or engagement letter signed by Jamila hiring Khalid M. Azam, Esq. for legal
services.

Exhibit C — Power of Attorney from Jamila to Javaid (Feb 12, 2020): The limited Power
of Attorney document (4 pages) executed by Jamila naming Javaid Aziz as her agent on
2/12/2020.

Exhibit D — Contested 18-page Power of Attorney (2017, Jamila to Neelofar): The
complete POA that Neelofar claims Jamila signed, naming Neelofar as attorney-in-fact
(likely dated sometime in late 2017).

Exhibit E — Westchester Family Court Temporary Order of Protection (Feb 25, 2020):
A copy of the ex parte TOP issued by Judge Wayne Humphrey, listing Neelofar (on behalf of
Jamila) vs. Javaid Aziz, with the date and terms (no contact order).

Exhibit F — Family Court Petition/Affidavit of Neelofar (Feb 2020): The initial sworn
petition or affidavit that Neelofar filed to get the TRO.

(Note: The Defendants have access to all the list of evidence in Court Docket numbers as listed
below.)

Westchester County, Family Court, NY.

Docket No. : 160818/0-01899-20;
160818/0-01899-20/20B;
160818/0-01899-20/20C;
160818/0-01899-20/21D.
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e Westchester County, Supreme Court, NY.

Docket No.: 54798/2021

Index No.: 64749/2021

New York Supreme Court, Appellate Division — Second Department
Docket No.: 2024-09208

(Westchester County Clerk’s Index No.: 64749/2021)

® Commonwealth of Massachusetts,

Cambridge District Court,
Civil No. 2452CV000556

e The State of New Hampshire

Superior Court
Grafton County
Case No. 215-2024-CV-00010

Exhibit G — Record of Appeal (& additional documents to be added)

All exhibits are in Court dockets in New York, New Hampshire and Massachusetts and
defendants have access to those. It would be waste of Court time to add them here. In appeal case
all documents are listed under this link:

Google Drive Shared Folder Link:
https://drive.google.com/drive/folders/|Mp40O VHBoqgOKo3shs1Ulel{85lefl9SIk?usp=sharing

The Plaintiffs will provide the Federal Court and the Jury all exhibits when needed. Also, the
exhibits may contain personal/confidential information.
